         Case 22-33553 Document 976 Filed in TXSB on 12/09/24 Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                          §                CHAPTER 11
                                                §              CASE NO. 22-33553
ALEXANDER E. JONES                              §
    Debtor                                      §   Hearing Date: 12/9/24 at 1:00 p.m.
                                                §
                                                §   Nature of Proceeding:
                                                §   Trustee’s Expedited Motion for Entry of an
                                                §   Order in Furtherance of the Sale of Assets
                                                §   of Free Speech Systems, LLC [Doc. 915]

                     FIRST UNITED AMERICAN COMPANIES, LLC’S
                        AMENDED WITNESS AND EXHIBIT LIST

Witness List:

      1. Christopher Murray
      2. Jeff Tanenbaum
      3. Alex Jones
      4. Ben Collins
      5. Christopher M. Mattei
      6. Representative of Global Tetrahedron, LLC
      7. Representative of War Is Over, LLC
      8. Representative of Connecticut Families
      9. Representative of First United American Companies, LLC
      10. Walter J. Cicack
      11. Any witness called by any other party

Exhibit List:

 NO.                      DESCRIPTION                      Offered Objection     Admitted/
                                                                                Not Admitted
         Order Granting Trustee’s Motion for Entry of an
 1.      Order Authorizing the Winddown of Free Speech
         Systems, LLC (Dkt. 859)

         Notice of Successful Bidder and Backup Bidder
         in the Auction for the Assets of Free Speech
 2.
         Systems, LLC Free and Clear of Any and All
         Claims, Interests, and Encumbrances (Dkt. 903)

 3.      FUAC’s Initial Bid

 4.      Onion’s Initial Bid
      Case 22-33553 Document 976 Filed in TXSB on 12/09/24 Page 2 of 4




NO.                    DESCRIPTION                       Offered Objection    Admitted/
                                                                             Not Admitted
      Email from Jeff Tanenbaum of Tranzon, dated
5.
      November 11, 2024

6.    New Overbid Form

7.    FUAC’s Bid (Designated as Backup Bid)

      Onion’s Bid with 3-page letter of explanation
8.
      (Designated as Success Bid)

9.    Sealed Bid Package (Dkt. 915-2)

10.   Asset Purchase Agreement (Dkt. 915-1)

11.   PQPR’s Proof of Claim (POC No. 11)

      Debtor’s Consolidated Objection to Proofs of
12.
      Claim filed by Connecticut Plaintiffs (Dkt. 705)

      Connecticut Families’ Response to Claim
13.
      Objection (Dkt. 812)

14.   Tranzon 235-236

15.   Tranzon 699-701

16.   Tranzon 703

17.   Tranzon 795

18.   Tranzon 796-811

19.   Tranzon 812-827

20.   Tranzon 828-843

21.   Tranzon 844-868

22.   Tranzon 869-884

23.   Tranzon 885-888

24.   Tranzon 889-892

25.   Tranzon 893




                                              2
      Case 22-33553 Document 976 Filed in TXSB on 12/09/24 Page 3 of 4




NO.                    DESCRIPTION                         Offered Objection      Admitted/
                                                                                 Not Admitted
      Trustee’s Motion for Entry of an Order
26.   Authorizing the Winddown of Free Speech
      Systems, LLC (Dkt. 829)

      Proposed (I) Order Approving Asset Purchase
      Agreement, (II) Authorizing Sale of Purchased
27.   Assets Free and Clear of All Liens, Claims,
      Encumbrances, and Other Interests, and (III)
      Granting Other Related Relief (Dkt. 974)

      Proposed (I) Order Approving Asset Purchase
      Agreement, (II) Authorizing Sale of Purchased
28.   Assets Free and Clear of All Liens, Claims,
      Encumbrances, and Other Interests, and (III)
      Granting Other Related Relief (Dkt. 915-8)

      Liberman email dated 11/15/2024 (with
29.
      attachment)

30.   Wolfshohl letter dated 12/8/2024

31.   Redlined Term Sheet

32.   Term Sheet

      Statement of the Texas Plaintiffs on the Chapter 7
      Trustee’s Expedited Motion for Entry of an Order
33.
      in Furtherance of the Sale of Assets of Free
      Speech Systems, LLC (Dkt. 961)

34.   Cicack Ltr to Wolfshohl dated 12/6/2024

35.   Any admitted documents offered by another party

36.   Rebuttal documents

                                                           Respectfully submitted,
                                                            /s/ Walter J. Cicack
                                                           WALTER J. CICACK
                                                           State Bar No. 04250535
                                                           wcicack@hcgllp.com
                                                           HAWASH CICACK & GASTON LLP
                                                           711 W. Alabama St., Suite 200
                                                           Houston, Texas 77006
                                                           (713) 658-9015 - tel/fax
                                                           Attorneys for First United American

                                              3
       Case 22-33553 Document 976 Filed in TXSB on 12/09/24 Page 4 of 4




                                                             Companies, LLC

                                    Certificate of Service

       I hereby certify that a true and correct copy of the foregoing document has been served
through the Court’s ECF noticing system on this 9th day of December, 2024.

                                                              /s/ Walter J. Cicack
                                                             Walter J. Cicack




                                              4
